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                                         ORDERED.


     Dated: July 05, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

In re:                                              Case No. 19-02265
                                                    Chapter 7
 HAYDEE BABILONIA-PAGAN


         Debtor          /

                     ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE
                          TO EMPLOY REAL ESTATE AGENT


         Upon the Notice and Application of Arvind Mahendru, the trustee in the above-captioned

case (“Trustee”), to Retain BK Global Real Estate Services (“BKRES”) to Procure Public Sale

pursuant to 11 U.S.C. § 327, 328 and 330 (“Application”) [DE#21], the Court having reviewed

and considered the Application and the Affidavit of Disinterestedness and having found good and

sufficient cause appearing therefore and the same to be in the best interest of Debtor and the

creditors the Court hereby FINDS that:

            A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

            B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409.

            C. Notice of the Application was sufficient under the circumstances.

                  Based upon the foregoing findings of fact, it is hereby
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       ORDERED, ADJUDGED, AND DECREED that:

       1.      The Application is hereby GRANTED.

       2.      Defined terms not otherwise defined herein have the meanings given to them in the

Application and the Affidavit.

       3.      The Trustee is authorized to retain and compensate BKRES and Listing Agent to

procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy

Rules 2014 and 2016, in accordance with the terms and conditions set forth in the BKRES

Agreement, the Listing Agreement and this Order.

       4.      BKRES is disinterested persons within the meaning of Bankruptcy Code Section

101(14).

       5.      BKRES shall be compensated in accordance with the BKRES Agreement and

Listing Agreement, respectively, and such compensation shall not hereafter be subject to challenge

except under the standard of review set forth in Section 330 of the Bankruptcy Code.

       6.      Notice of the Application was adequate and proper.

       7.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

       8.      Compensation will be determined later in accordance with 11 USC sec 330.

Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
